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                        UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF VIRGINIA

                               ALEXANDRIA DIVISION


RUBY LAMBERT, individually and on behalf      Case No. 1:19-cv-00103-LO-MSN
of all others similarly situated,

                       Plaintiff,

      v.

NAVY FEDERAL CREDIT UNION,

                       Defendant.



           REPLY IN SUPPORT OF NAVY FEDERAL CREDIT UNION’S

                                    MOTION TO DISMISS


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                   I.      INTRODUCTION AND SUMMARY OF REPLY

       Plaintiff Ruby Lambert concedes Navy Federal may charge an NSF fee for each returned

debit item presented against her Navy Federal account. This case turns on whether Ms. Lambert

had two debit items returned for insufficient funds, causing two NSF fees. She did. Mutual of

Omaha presented two ACH debit items on Ms. Lambert’s behalf on two different dates; she

concedes she had insufficient funds on both occasions; and she admits Navy Federal returned

each debit item as a result. These facts bar Ms. Lambert’s claims, under any theory.

       Rather than dispute these outcome-determinative facts, Ms. Lambert responds by (a) re-

casting her failure-to-disclose allegations as misrepresentations, in an attempt to avoid

preemption; (b) asking the Court to “[s]et aside” the contract language she does not like,

conceding the only way to rule for her is to delete words from the Important Disclosures; and (c)

suggesting she has a fundamental right to bring a North Carolina UDTPA claim (which she does

not). Opp. at 15. Her efforts fail, for at least three reasons:

       First, federal law preempts Ms. Lambert’s claims because she nowhere identifies an

affirmative misrepresentation by Navy Federal. Instead, she continues to use her state-law

claims to require more or different disclosures, as shown by her continued reliance on the

disclosures of other financial institutions. See Opp. at 13-14, 17 n.9.

       Second, Ms. Lambert’s contract claims fail because she admits her interpretation requires

the Court to read words out of the contract and others in isolation. But the plain terms of the

contract, read as a whole, allow Navy Federal to do what it did here: assess an NSF fee “for each

returned debit item.” That defeats any contract-based claim.

       Third, Ms. Lambert’s North Carolina UDTPA claim fails because she chose Virginia law,

the UDTPA is not a fundamental policy of North Carolina and so, cannot evade her choice-of-

law provision, and her UDTPA claim restates her contract claim, taking it outside the UDTPA.


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                                      II.     ARGUMENT
       A.      Federal Law Preempts Ms. Lambert’s Claims.

       Ms. Lambert does not dispute that federal law preempts state-law claims seeking to

dictate the disclosures a federal credit union must make, or “what fees it may charge and how it

may charge them.” Whittington v. Mobiloil Fed. Credit Union, 2017 WL 6988193, *9 (E.D.

Tex. 2017) (citing 12 C.F.R. § 701.35(c)); see also id. at *9-10 (citing 12 C.F.R. § 707.1(d));

Mot. to Dismiss (“Mot.”) at 12; Opp. at 5-13. Instead, she dresses up her failure-to-disclose

theories as affirmative misrepresentations—which federal law would not preempt—and argues

her breach of contract claim survives merely because it is a breach of contract claim, which she

suggests always survives preemption. Opp. at 8-13; Mot. at 14. Both efforts fail, and the Court

should find her claims preempted as a matter of law.

               1.      Ms. Lambert Does Not Allege an Affirmative Misrepresentation
                       Claim.

       Despite her repeated references to “affirmative misstatements” in her briefing, Ms.

Lambert never actually identifies any “affirmative misrepresentation” by Navy Federal. See

Opp. at 8-9, 11-13; Compl. ¶¶ 7, 20, 37, 40, 44; Mot. at 14. To the contrary, in her Complaint

she faults Navy Federal for allegedly failing to disclose it would charge an NSF fee each time a

debit item is re-presented and returned for insufficient funds. See Mot. at 14 (quoting Compl. ¶¶

7, 20, 37, 40, 44); see also Opp. at 3 (complaining Navy Federal’s Important Disclosures are

“inadequate”). And in both her Complaint and Opposition, she argues that to avoid state-law

liability, Navy Federal’s Important Disclosures should mirror those of other financial

institutions, whose disclosures she prefers. See Opp. at 13-14, 17 n.9; Compl. ¶¶ 47-49. Indeed,

Ms. Lambert alleges “NFCU provides no such disclosures, and in so doing, deceives its

accountholders.” Compl. ¶ 50 (emphasis added). Thus, her real issue is with what she believes

Navy Federal’s Important Disclosures should but do not say. See Opp. at 13-14.


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       That Ms. Lambert bases her claims on an alleged failure to adequately disclose how or

when Navy Federal will assess an NSF fee brings this case squarely within Whittington, where

the court found the Federal Credit Union Act (“FCUA”) and Truth In Savings Act (“TISA”)

regulations preempted state-law claims challenging the assessment of multiple fees on an

allegedly single transaction—the same theory Ms. Lambert pursues here. There, the court saw

through plaintiff’s efforts to characterize her criticisms of fee disclosures as affirmative

misrepresentations: “Whittington castigates [defendant] for employing unconscionable overdraft

programs and making misleading statements, citing various provisions in the [contract]…. As

[defendant] correctly points out, these practices were fully disclosed to Whittington and, for the

reasons stated previously, they are preempted.” Id. at *10 (emphasis added).

       So too, here. Ms. Lambert accuses Navy Federal of “unconscionable” practices

“regarding the assessment of NSF Fees,” Compl. ¶ 80, and (now) complains Navy Federal’s

Important Disclosures about NSF fees are “misleading,” Opp. at 12. But she does not dispute

that the Important Disclosures fully disclosed that Navy Federal would assess an NSF fee “for

each returned debit item.” Compl., Ex. A at 4. Ms. Lambert may not use her state-law claims—

whatever their label—“to force additional disclosures or require that disclosures be made in a

particular manner,” or “to dictate to a federal credit union what fees it may charge and how it

may charge them.” Id. at *10, *9.1



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  Ms. Lambert tries to argue that she does not challenge the type of fee assessed, but she later
admits her claims challenge “how [Navy Federal] may charge” NSF fees (i.e., for re-presented
debits). Whittington, 2017 WL 6988193, at *9; Opp. at 7. As Ms. Lambert concedes, TISA
gives federal credit unions authority to determine “the conditions under which the fee may be
imposed,” and preempts “state laws that ‘are inconsistent with’ [TISA’s] requirements.” Opp. at
7-8 (quoting 12 C.F.R. §§ 707.1(d) & 707.4(b)(4)) (emphasis in Opposition). A ruling
prohibiting Navy Federal from assessing an NSF fee for a returned debit item when that debit
item was a re-presentment would contradict TISA’s grant of authority to Navy Federal to
determine “the conditions under which” to impose NSF fees, making such a claim preempted.
See Whittington, 2017 WL 6988193, at *7, *9; 12 C.F.R. §§ 707.1(d) & 707.4(b)(4); Mot. at 15.

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       Nor do Ms. Lambert’s claims bear likeness to the affirmative misrepresentation claims

that survived in Whittington and Murr v. Capital One Bank (USA), N.A., 28 F. Supp. 3d 575

(E.D. Va. 2014), on which she relies. See Opp. at 12-13. In those cases, the surviving claims

arose from affirmative representations that were untrue. In Whittington, the defendant advertised

a linked-account program, representing that if a customer linked a second account to her

checking account to cover shortfalls, doing so would save the customer transfer fees.

Whittington, 2017 WL 6988193, at *2. But that representation was false, as it cost the consumer

more money to cover shortfalls with linked accounts. Id. at *10-*11. The plaintiff also alleged

the credit union affirmatively misrepresented customers’ available account balances, which

caused overdraft charges. Id. at *10-11. Similarly, in Murr, 28 F. Supp. 3d at 583-84, Capital

One made an offer that a particular program was beneficial and would save the plaintiff money,

when in fact, the “[o]ffer most likely did not amount to an opportunity to ‘start saving.’” Id.2

Ms. Lambert makes no such allegations. She does not argue Navy Federal’s statement that it

would charge an NSF fee for “each returned debit item” is untrue; she simply disagrees with how

to interpret that accurate representation and insists additional disclosures are necessary.

       Ms. Lambert also cannot avoid preemption by inserting words into the agreement to

create a misrepresentation. She argues the Important Disclosures “indicate” that Navy “will only

charge a single [] fee,” Compl. ¶¶ 8, 20; Opp. at 8, and “confer[] only the right to charge ‘a’ fee

per ‘item.’” Opp. at 11. But the Important Disclosures do not use those words: they nowhere

use the word “single” to modify “fee” and do not state Navy Federal will “charge a fee per item,”

regardless how many times debit items are returned for insufficient funds. Rather, the Important


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 See also Gutierrez v. Wells Fargo Bank, N.A., 704 F.3d 712, 729 (9th Cir. 2012) (affirmative
misrepresentation claims surviving preemption stemmed from false marketing statements, not
account disclosure omissions); Gutierrez v. Wells Fargo Bank, N.A., 730 F. Supp. 2d 1080,
1116-17 (N.D. Cal. 2010) (describing representations).

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 Disclosures specify that: “A fee may be assessed in the amount shown on Navy Federal’s

 current Schedule of Fees and Charges for each returned debit item.” Compl., Ex. A at 4. Here,

 there were two returned debit items on two different days and thus, two NSF fees—one for each

 returned debit item. Ms. Lambert cannot create misrepresentations by altering the contract.

                2.     Ms. Lambert’s Breach of Contract Claim Does Not Survive
                       Preemption.

        The mere fact Ms. Lambert also pleads a breach of contract claim also does not save her

 Complaint from preemption. See Opp. at 8-11. Courts have held a breach of contract claim may

 survive preemption if a defendant makes a representation that contradicts the express terms of

 the agreement, such as misrepresenting the amount of funds in the customer’s account to assess

 an overdraft fee (i.e., the customer had sufficient funds in the account when defendant assessed

 the overdraft fee, contrary to the representation and contract terms). Whittington, 2017 WL

 6988193, at *11 (collecting cases); Mot. at 14-15. But Ms. Lambert does not assert such a claim,

 and does not allege Navy Federal breached any express contract terms. She does not allege, for

 example, that Navy Federal issued two NSF fees on October 16, 2018, when Mutual of Omaha

 submitted one debit item and Navy Federal returned that one debit item for insufficient funds, or

 that Navy Federal assessed an NSF fee when she had sufficient funds. See Compl. ¶¶ 22-23.

        Instead, she complains about the NSF fee Navy Federal assessed on October 18, when

 Mutual of Omaha submitted a second debit item and Navy Federal returned that debit item for

 insufficient funds. Id. ¶ 24. But she does not and cannot identify any express words in the

 Important Disclosures promising that Navy Federal would not assess an NSF fee for a re-

 presented debit item where—as here—the debit item was “returned” for insufficient funds.

 That’s so because the Important Disclosures provide the opposite, expressly allowing Navy

 Federal to assess an NSF fee “for each returned debit item,” without regard to whether the



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 “returned debit item” is a re-presentment. See Compl., Ex. A at 4; Mot. at 15-20. Indeed,

 because the Important Disclosures do not make the promise Ms. Lambert foists onto them, she

 rests all her claims on her theory that the Important Disclosures are “inadequate.” Opp. at 3; see

 also Compl. ¶¶ 7, 20, 40, 44, 46-49 (basing claims on the theory the Important Disclosures fail to

 disclose Navy Federal’s NSF fee practices). Federal law preempts that theory, and the Court

 should dismiss Ms. Lambert’s claims. See Mot. at 14-15; Whittington, 2017 WL 6988193, at

 *10 (12 C.F.R. § 701.1 preempts claims seeking “to use state law to force additional disclosures

 or require that disclosures be made in a particular manner”).3

        B.      Ms. Lambert’s Breach of Contract Claims Fail.

                1.     Navy Federal Complied with Its Important Disclosures.

        Ms. Lambert admits Navy Federal’s Important Disclosures informed her that Navy

 Federal would assess “[a] fee … for each returned debit item.” Compl., Ex. A at 4. And she


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   It makes no difference that other courts addressing other breach of contract theories have
 declined to find preemption. See Opp. at 9-11. In evaluating Navy Federal’s preemption
 arguments, the Court must look beyond the label applied to the claim and “inquire into the
 soundness of the state law claims asserted.” In re TD Bank, N.A., 150 F. Supp. 3d 593, 609-10
 (D.S.C. 2015). In doing just that, the court in In re TD Bank distinguished as unpersuasive
 nearly all the authority on which Ms. Lambert relies, see Opp. at 9-11, following instead
 Gutierrez, which held federal law preempts state regulation of financial institutions’ conferred
 authority and any state requirement to make affirmative disclosures—regardless how those
 claims are styled. In re TD Bank, 150 F. Supp. 3d at 613-17 & n.7; Gutierrez, 704 F. 3d at 729.
 As the court in In re TD Bank observed, In re Checking Account Overdraft Litig., 694 F. Supp.
 2d 1302 (S.D. Fla. 2010), has become “something of an echo-chamber,” and the courts in Hanjy
 v. Arvest Bank, 94 F. Supp. 3d 1012 (E.D. Ark. 2015), In re HSBC Bank USA, N.A. Debit Card
 Overdraft Fee Litig., 1 F. Supp. 3d 34 (E.D.N.Y. 2014), and King v. Carolina First Bank, 26 F.
 Supp. 3d 510 (D.S.C. 2014), have reflexively cited that case for the proposition that contract and
 tort claims against financial institutions are not preempted, without properly following “a more
 nuanced understanding of how state law is preempted” under Gutierrez. In re TD Bank, 150 F.
 Supp. 3d at 613 n.7. Nor do these cases—or any of Ms. Lambert’s other preemption cases—
 involve challenges to disclosures based on the assessment of multiple insufficient funds fees for
 an allegedly single transaction, the precise scenario presented and found preempted in
 Whittington. See Opp. at 10-11 (citing Smallwood v. Sovereign Bank, FSB, 2012 WL 243744
 (N.D. W.Va. 2014) (no preemption where plaintiff was current when defendant began collection
 efforts); Faulkner v. OneWest Bank, 2010 WL 2472275 (N.D. W. Va. 2010) (no preemption
 where plaintiffs alleged breach for rescinding a modification agreement); Wittenberg v. First
 Indep. Mortg. Co., 2011 WL 1357483 (N.D. W. Va. 2011) (no preemption where plaintiff
 alleged a bank denied a permanent loan modification after promising to provide it)).

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 does not dispute that Mutual of Omaha submitted two ACH debits on two different dates,

 October 16 and 18, 2018, each of which Navy Federal “returned” for insufficient funds,

 triggering one NSF fee “for each returned debit item.” See Opp. at 13; Compl. ¶¶ 22-24; Mot. at

 20. Thus, Navy Federal assessed one NSF “for each returned debit item,” as the plain words of

 the Important Disclosures said it would do. See Mot. at 20; Compl., Ex. A at 4.

        To get around these undisputed facts, Ms. Lambert urges the Court to read “each returned

 debit” out of the Important Disclosures, isolate the term “item,” and inject the words “single” or

 “one” into the contract. See Opp. at 2-3, 13-20. But the words of the Important Disclosures,

 read together and in context—as the Court must—show that “[a] fee … for each returned debit

 item” means Navy Federal will assess “a fee” for “every (each) ACH debit requested by an

 Originator [Mutual of Omaha] for payment (debit item) that Navy Federal passes back to the

 ODFI [Mutual of Omaha’s bank] for insufficient funds (returned).” Mot. at 18-19. Whether

 debit items Mutual of Omaha submitted were for one insurance premium is irrelevant to the

 dispositive question whether two debit items were returned for insufficient funds. They were.4

        In interpreting contracts, the Court may not simply “[s]et aside those adjectives [‘returned

 debit’]”—as Ms. Lambert advocates—to conclude the Important Disclosures actually “promise

 … one NSF Fee per ‘item.’” Opp. at 15. “No word or clause in the contract will be treated as

 meaningless if a reasonable meaning can be given to it, and there is a presumption that the

 parties have not used words needlessly.” Squire v. Va. Housing Dev. Auth., 287 Va. 507, 516,

 758 S.E.2d 55, 60 (2014). Further, “contracts must be considered as a whole ‘without giving


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   If Ms. Lambert wants Mutual of Omaha to only ever submit one debit item for her insurance
 payments, regardless whether she has sufficient funds when Mutual of Omaha submits the debit
 item, she must take that up with Mutual of Omaha, not Navy Federal. “Navy Federal cannot
 cancel an agreement that [she has] with [Mutual of Omaha] or revoke the authorization [she has]
 provided [Mutual of Omaha] for recurring automatic transfers from [her] accounts.” Compl., Ex.
 A at 11 (emphasis added).

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 emphasis to isolated terms.’” TM Delmarva Power LLC v. NCP of Va., LLC, 263 Va. 116, 119,

 557 S.E.2d 199, 200 (2002) (emphasis added). Ms. Lambert cannot disregard inconvenient

 modifiers or construe “item” in isolation, and the Court should reject her invitation to do so. The

 Important Disclosures state Navy Federal will assess “[a] fee … for each returned debit item,”

 making the trigger for the NSF fee the “return” of the debit item, not the end purpose of the debit

 item (e.g., the insurance bill). Compl., Ex. A at 4.

        Navy Federal’s plain reading of the Important Disclosures does not take “item” out of the

 contract, as Ms. Lambert claims. See Opp. at 15-16. Rather, “debit item,” read in the context of

 the Important Disclosures as a whole, means “an ACH debit transaction or presentment—i.e., an

 ACH debit request for payment.” Mot. at 17; see also id. at 18 (“debit item” means an “ACH

 debit requested by an Originator for payment”). Ms. Lambert agrees an “item” is a “payment

 request” or an “instruction for payment,” Opp. at 3-4; see also Compl. ¶ 29, and does not dispute

 that Mutual of Omaha presented two payment requests (i.e., debit items), one on October 16,

 2018, and one on October 18, 2018, each of which Navy Federal returned for insufficient funds.

 Mot. at 20; Opp. at 13. Thus, under the plain terms of the Important Disclosures, Navy Federal

 properly issued two NSF fees, one “for each returned debit item.” Compl., Ex. A at 4.

        Navy Federal does not claim the Important Disclosures allow “an NSF Fee each time a

 debit is attempted,” as Ms. Lambert suggests. Opp. at 15 (emphasis in original); see also id. at

 16 (arguing Important Disclosures do not authorize an NSF fee “for each debit merely attempted

 on the account”). Navy Federal does not advocate for such an interpretation because the

 Important Disclosures do not allow for an NSF fee every time an Originator (Mutual of Omaha)

 initiates a debit item—they allow for an NSF “for each returned debit item,” as occurred here on

 October 16 and 18, 2018. Compl., Ex. A at 4 (emphasis added); see also Mot. at 16-18




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 (Important Disclosures allow an NSF fee “for each returned debit item,” not each debit item

 submitted, regardless whether the item is returned). Ms. Lambert’s attempt to contort Navy

 Federal’s arguments and contract terms lacks merit.

        In contrast, Ms. Lambert achieves her understanding of “item”—which she admits “is

 undefined in the contract,” Opp. at 17—only by “[s]et[ting] aside” the contract terms “returned

 debit.” Id. at 15. Based on her interpretive gymnastics—and her unsupported blanket assertion

 that “item” “is routinely used in banking contexts to refer to all iterations of, or attempts at

 executing, a payment or deposit on an account”—she asks the Court to write a definition of

 “item” into the contract that is not there. Opp. at 17; see also id. at 4 (concluding “[e]ven if

 NFCU reprocesses an instruction for payment, the underlying payment request is still the same

 ‘item’ or transaction”) & 18 (arguing “item … reasonably means all iterations of a given

 payment attempt”). But the Court must “construe the contract made by the parties, not … make

 a contract for them,” Wilson v. Holyfield, 227 Va. 184, 187, 313 S.E.2d 396, 398 (1984), and Ms.

 Lambert cannot inject ambiguity into the plain terms of the contract by argument of counsel.

 “Contracts are not rendered ambiguous merely because the parties disagree as to the meaning of

 the language employed by them in expressing their agreement,” id., and “courts must not strain

 to find ambiguities.” Resource Bankshares Corp. v. St. Paul Mercury Ins. Co., 407 F.3d 631,

 636 (4th Cir. 2005).5 In any event, even if an “item” were to mean one underlying transaction,

 Ms. Lambert offers no plain-language reason why that “item” could not be presented and

 returned more than once, i.e., each time the RDFI (Navy Federal) returned it for insufficient

 funds, triggering the NSF fee for each return.6


 5
   Ms. Lambert’s out of jurisdiction contractual ambiguity cases have no application here. See
 Opp. at 19. None of those cases interpret the provision at issue here, and Ms. Lambert admits
 her interpretation requires the Court to “set aside” operative contract terms (“returned debit”).
 6
   Ms. Lambert’s argument that the Important Disclosures only use the term “item” to mean one

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        Nor does Morris v. Bank of Am., N.A., 2019 WL 1274298, *2 (W.D.N.C. 2019), save Ms.

 Lambert’s claims. See Opp. at 19. Ms. Lambert asserts the Morris court considered “claims

 identical to the claims in the instant matter,” id., but she cannot contend the Morris court

 construed the phrase “each returned debit item” under Virginia law. Further, Morris is not

 binding, Booker v. S. Car. Dep’t of Corrections, 855 F.3d 533, 538 n.1 (4th Cir. 2017), and the

 court in Morris failed to engage in any analysis of the contract at issue there, making Morris

 unpersuasive and inapplicable, see 2019 WL 1274298, at *2.

        The words of the Important Disclosures allow Navy Federal to do what it did here—

 assess an NSF fee “for each returned debit item”—and the Court should dismiss Ms. Lambert’s

 contract claims.

                2.      Navy Federal Did Not Breach the Duty of Good Faith and Fair
                        Dealing.
        The duty of good faith and fair dealing cannot undercut contractual rights, and the

 exercise of accrued contractual rights is not an exercise of discretion subject to the duty of good

 faith and fair dealing. Mot. at 20-21. As a result, charging an authorized fee cannot violate the

 duty of good faith and fair dealing. Ms. Lambert’s response ignores the distinction between an

 actionable exercise of discretion and a non-actionable exercise of accrued contractual rights,

 and simply concludes that Navy Federal exercised actionable discretion. Opp. at 21-23. But

 Virginia courts “explicitly reject[] attempts to characterize the decision whether to exercise an

 accrued right as a matter of ‘contractual discretion.’” Stoney Glen LLC v. S. Bank & Trust Co.,

 944 F. Supp. 2d 460, 468 (E.D. Va. 2013). Here, Navy Federal did not exercise contractual

 discretion but rather an accrued right based on the undisputed, objective fact that Ms. Lambert’s


 underlying transaction is wrong. Opp. at 17-18 & n. 10. The first bullet point in her footnote 10
 confirms that each of Mutual of Omaha’s debits was a separate “item,” because the contract
 language she quotes identifies “Automated Clearing House (ACH) debits” as separate “items.”
 Id.

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 account had insufficient funds when Mutual of Omaha submitted two debit items and as a result,

 Navy Federal returned each debit item for insufficient funds. See Mot. at 22-24; Stoney Glen,

 944 F. Supp. 2d at 469 (exercise of an accrued right is not discretionary when right accrues based

 on “the occurrence of an objective, undisputed fact”).

        That the contract says “[a] fee may be assessed … for each returned debit item” does not

 change this outcome. See Opp. at 21. A party can always refrain from exercising a contractual

 right; the fact it chooses not to do so does not transform its choice into an act of discretion. See

 Mot. at 22-23 (collecting cases). That Navy Federal reserves the right to not charge an NSF

 fee—if, for example, a member uses Navy Federal’s dispute-resolution process and receives a

 waiver—cannot give rise to a breach of the duty of good faith and fair dealing. Id. Ms. Lambert

 makes no effort to respond to Navy Federal’s cases on this point, and her cases involving banks

 exercising sole discretion to reorder items posted to checking accounts have no application here.7

        Ms. Lambert, however, argues “NFCU abused its discretion by interpreting the terms

 ‘item’ or ‘returned debit item’ in a strained and unreasonable manner that allowed it to assess

 more fees on Ms. Lambert … than it should have.” Opp. at 21.8 But she cannot transform Navy

 Federal’s exercise of accrued contract rights into an exercise of discretion by simply disagreeing

 with Navy Federal’s plain language interpretation of the contract. The duty of good faith and

 fair dealing cannot “rewrit[e] an unambiguous contract in order to create terms that do not exist,”


 7
   See Opp. at 20-21 & n. 11 (citing In re HSBC Bank, USA, N.A., 1 F. Supp. 3d 34, 51-52
 (E.D.N.Y. 2014); Gutierrez v. Wells Fargo & Co., 622 F. Supp. 2d 946, 954 (N.D. Cal. 2009)
 (contract language allowing bank to post items to checking accounts “in any order the bank
 chooses” “does nothing more than give discretion to the bank”); White v. Wachovia Bank, N.A.,
 563 F. Supp. 2d 1358, 1364 (N.D. Ga. 2008) (“The relevant paragraphs of the Deposit
 Agreement outline how Wachovia will carry out its obligation to pay checks or other
 withdrawals from an account, and confer discretion to Wachovia as to the manner of performing
 this obligation.”); In re Checking Account Overdraft Litig., 2013 WL 5774287, *7 (S.D. Fla.
 2013) (giving bank discretion to post items to checking accounts “in any order we choose”)).
 8
   The only way a consumer with Navy Federal’s overdraft protection service receives an NSF fee
 is if she has already used her $500 in overdraft protection. See Compl., Ex. A at 5.


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 Mot. at 20 (quoting McInnis v. BAC Home Loan Servicing, LP, 2012 WL 383590, *8 (E.D. Va.

 2012)), yet Ms. Lambert’s proposed contract interpretation does just that, because she admittedly

 rests her interpretation on deleting the terms “returned debit” from the Important Disclosures,

 Opp. at 15. Under the plain meaning of the actual words of the Important Disclosures, Navy

 Federal simply exercised its right under the contract when it assessed two NSF fees for two

 returned debit items. “[A] party does not violate the obligation to act in good faith by ‘enforcing

 a contractual right.’” Mot. at 20 (quoting Albayero v. Wells Fargo Bank, N.A., 2011 WL

 4748341, *6 (E.D. Va. 2011)).9

        C.      Ms. Lambert’s UDTPA Claim Fails.
                1.      The Parties’ Contractual Choice of Law Controls.

        Virginia law applies broad contractual choice-of-law provisions to “contract-related tort

 claims,” Mot. at 25 (citing Zaklit v. Glob. Linguistic Sols., LLC, 2014 WL 3109804, *9 (E.D. Va.

 2014)), and Ms. Lambert’s North Carolina UDTPA claim is such a claim. A contrary result

 would add “complexity and [make] the outcome of disputes less predictable, the type of

 eventuality that a sound commercial law should not seek to promote.” Pyott-Boone Elecs. Inc. v.

 IRR Trust for Donald L. Fetterolf Dated Dec. 9, 1997, 918 F. Supp. 3d 532, 544 (E.D. Va. 2013).

        Ms. Lambert’s conclusion in opposition that “contractual choice of law clauses are

 interpreted narrowly” lacks support. “[U]nder Virginia law, choice of law clauses generally

 encompass contract-related tort claims.” Cyberlock Consulting, Inc. v. Info Experts, Inc., 876 F.

 Supp. 2d 672, 678 n.3 (E.D. Va. 2012). And LTD Mgmt. Co. v. Holiday Hosp. Franchising, Inc.,



 9
   Ms. Lambert effectively concedes she does not allege facts plausibly showing Navy Federal
 acted dishonestly, and therefore cannot base any duty of good faith and fair dealing claim on an
 alleged exercise of contractual rights. Compare Stoney Glen, 944 F. Supp. 2d at 466-69
 (“[W]here a party has a clear contract right, even if its exercise would arguably be arbitrary, that
 party is only forbidden from acting dishonestly.”), and Mot. at 21 (“Ms. Lambert alleges no such
 facts” plausibly showing dishonesty), with Opp. at 22 (arguing only bad faith, not dishonesty).

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 2008 WL 7281926, *10 (E.D. Va. 2008), on which Ms. Lambert relies, agrees. In fact, in LTD

 the court emphasized that “Virginia gives contractual choice of law provisions full effect absent

 unusual circumstances,” and reiterated the settled rule that “if a choice of law provision is

 sufficiently broad, a court should apply the provision to encompass contract-related tort claims as

 well.” Id. Applying those principles, the court found the choice-of-law provision to be “narrow”

 because it was expressly limited to the parties’ agreement—not their relationship more generally.

 Id. (“[The Agreement] shall be governed and construed under, and in accordance with the laws

 and decisions….of the State of Georgia.” (alteration in original)).

        Ms. Lambert’s choice-of-law provision, in contrast, applies to “Navy Federal accounts”

 broadly, not just to the interpretation or application of the Important Disclosures themselves.

 Compl., Ex. A at 7 (emphasis added). Courts in this district have held that similarly broad

 choice-of-law provisions encompass contract-related tort claims, and this Court should do so

 here, too. Freedman v. Am. Online, Inc., 325 F. Supp. 2d 638, 653 (E.D. Va. 2004) (Virginia’s

 laws “govern this Agreement and your membership”); Hitachi Credit Am. Corp. v. Signet Bank,

 166 F.3d 614, 624 (4th Cir. 1999) (Virginia law governs “[t]his Agreement and the rights and

 obligations of the parties hereunder …. including all matters of construction, validity and

 performance.”); Run Them Sweet, LLC v. CPA Global Ltd., 224 F. Supp. 3d 462, 466 (E.D. Va.

 2016) (“[T]he Agreement’s conditions shall be ‘governed and construed in accordance with’

 Virginia law.”); Hitachi, 166 F.3dat 628 (where “a choice of law clause in the contract is

 sufficiently broad to encompass contract-related tort claims …. courts have honored the intent of

 the parties to choose the applicable law); see also Mot. at 25-27.10


 10
   Ms. Lambert makes no attempt to distinguish Run Them Sweet. There, the Court disagreed
 with LTD’s conclusion that the phrase “governed and construed” was a narrow provision,
 emphasizing both terms needed be given independent meaning, and the term “governed” is
 exceptionally broad. See 224 F. Supp. 3d at 466 & n.3 (distinguishing LTD Mgmt.).

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         Further, Ms. Lambert bases her UDTPA claim on the exact same allegations as her

 contract claim. Compare Compl. ¶ 73 (“[Navy Federal] breached the terms of its contract with

 consumers by charging multiple NSF fees on the same transaction.”), with Compl. ¶ 82

 (“[C]harging multiple NSF fees on a single transaction is both unfair and deceptive ….”); see

 also ¶¶ 64.D, 80-82 (asserting UDTPA claim based on Navy Federal’s “assessment of NSF

 Fees,” “imposition of NSF Fees,” and practice of “charging multiple NSF Fees”); Compl., Ex. A

 at 4 (“A fee may be assessed … for each returned debit item.”). Where, as here, tort claims are

 “based on precisely the same facts as those on which the breach-of-contract claim is based,”

 courts in this district find the claims to be contract-related tort claims subject to the parties’

 contractual choice of law. Run Them Sweet, 224 F. Supp. 3d at 467-68; Hitachi, 166 F.3d at 628

 (“[R]ecognizing the close relationship of the tort claims to the contract, this Court will apply

 Virginia law to Hitachi's fraud claims.”); Freedman 325 F. Supp. 2d at 653-54 (applying

 Virginia law where “plaintiff’s [Connecticut] UTPA claim effectively puts this provision of the

 Agreement at issue”). Ms. Lambert’s case involving a tort claim based on allegations of duties

 independent of the contract therefore has no bearing here. See Opp. at 24-25 (citing Metro Mail

 Servs., Inc. v. Pitney Bowes, Inc., 2017 WL 1230848, *5 (E.D. Va. 2017) (declining to applying

 Connecticut choice-of-law provision to Connecticut unfair trade practices act claim where

 plaintiff based the claim on duties independent of the contract)).11

         Ms. Lambert attempts to avoid the parties’ selection of Virginia law by appealing to

 public policy, conceding she cannot bring her duplicative contract-based statutory claim under

 Virginia law. Opp. at 25. But her claim that the North Carolina UDTPA has “public policy


 11
   Because application of Virginia law to Ms. Lambert’s UDTPA claim is “settled by the
 contract,” it makes no difference whether her “account was maintained in North Carolina and she
 was injured in North Carolina”; Virginia law applies under the terms of her contract, alone. See
 Opp. at 24-25 (lex loci delicti applies only if choice of law is not “settled by the contract”).

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 justification” and thus is a “fundamental policy” of North Carolina does not make it so. Id. If

 that were the test, every unfair practices act would be inviolate, yet courts regularly apply

 contractual choice-of-law provisions to bar assertion of state-law unfair trade practices claims,

 including North Carolina UDTPA claims. Run Them Sweet, 224 F. Supp. 3d at 464, 468

 (dismissing California unfair trade practices claim); Freedman, 325 F. Supp. 2d at 653-54

 (dismissing Connecticut UTPA claim); Canon U.S.A., Inc. v. Cavin’s Bus. Sols., Inc., 208 F.

 Supp. 3d 494, 504-05 (E.D.N.Y. 2016) (dismissing North Carolina UDTPA claim based on New

 York law selection); G.P.P., Inc. v. Guardian Prot. Prod., Inc., 2015 WL 3992878, *18 (E.D.

 Cal. 2015) (dismissing North Carolina UDTPA claim based on California law selection).

        Indeed, in Canon, when dismissing the plaintiff’s North Carolina UDTPA claim due to a

 New York choice-of-law provision, the court rejected the same argument Ms. Lambert advances

 here—that a consumer protection statute necessarily embodies a “fundamental policy” that

 cannot be displaced by a choice-of-law provision:

        Plaintiff acknowledges that New York has its own analogous statute, New York
        General Business Law § 349, and admits that it does not bring a New York
        consumer protection claim because the statute does not extend to the misconduct
        alleged here. In the Court’s view, the enforcement of a choice-of-law provision
        that would apply a narrower consumer protection or deceptive trade practices
        statute does not amount to a violation of a fundamental public policy of another,
        more interested jurisdiction.

 208 F. Supp. 3d at 505; see also Bassett Seamless Guttering, Inc. v. GutterGuard, LLC, 2006

 WL 156874, *6 (M.D.N.C. 2006) (“[A] choice of law provision is not fundamentally unfair

 simply because it denies a treble damages remedy otherwise available in a party’s home state.”).

        In any event, the only authority Ms. Lambert advances—Dealers Supply Co. v. Cheil

 Indus., 348 F. Supp. 2d. 579, 586 (M.D.N.C. 2004), does not establish North Carolina’s UDTPA

 as a “fundamental policy” that cannot be displaced by a choice-of-law provision. The Court

 must “begin with the proposition that not every statutory provision constitutes a fundamental



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 policy of a state,” and examine the statutory language, relevant court decisions, and legislative

 history. Volvo Const. Equip. N. Am., Inc. v. CLM Equip. Co., 386 F.3d 581, 607 (4th Cir. 2004).

 Whether state law allows parties to waive its application deserves significant weight. See id.

        Here, not only does the North Carolina UDTPA contain no anti-waiver provision, but

 also the North Carolina Supreme Court has held that parties can waive their rights under the

 UDTPA. In the Court’s words: “We see no reason why a plaintiff in an unfair practices claim

 may not waive the right to recover treble damages and elect instead, for reasons satisfactory to

 the plaintiff, to recover untrebled compensatory damages.” United Labs, Inc. v. Kuykendall, 335

 N.C. 183, 194, 437 S.E.2d 374, 381 (1993); see also Ussery v. Branch Banking & Trust Co., 368

 N.C. 325, 338-39 & n.8, 777 S.E.2d 272, 281 (2015) (plaintiff validly waived claims—including

 claims under the North Carolina UDTPA); G.P.P., Inc., 2015 WL 3992878, at *18 (“The

 UDTPA is a North Carolina statute, and the parties do not identify a choice-of-law exclusion or

 waiver provision in the statute.”). Because North Carolina courts allow parties to waive the

 UDTPA, the statute is not such a fundamental policy of North Carolina that this Court can set

 aside the parties’ clear selection of Virginia law.

                2.      Compliance with the Important Disclosures Is Not Unfair or
                        Deceptive.
        Navy Federal did not act unfairly or deceptively when it complied with the plain terms of

 the Important Disclosures. See Mot. at 27-28. Ms. Lambert argues In re Checking Account

 Overdraft Litig., 694 F. Supp. 2d at 1326, rejected Navy Federal’s “exact argument that it

 somehow cured its unfair and deceptive practices by the language included in its contract.” Opp.

 at 30. In fact, In re Checking Account allowed a North Carolina UDTPA claim to proceed

 despite an argument that the challenged conduct was fully disclosed because the court had

 “already held that Defendants’ alleged conduct was not expressly authorized by the contract.”



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 Id. (emphasis added). Here, however, the Important Disclosures expressly authorized Navy

 Federal to assess “[a] fee … for each returned debit item,” as it did on October 16, 2018, when

 Mutual of Omaha submitted a debit item and Navy returned it for insufficient funds, and on

 October 18, 2018, when Mutual of Omaha submitted another debit item and Navy returned it for

 insufficient funds. That conduct is not unfair or deceptive. E.g. Perry v. Meredith Corp., 77

 Fed. App’x 128, 131 (4th Cir. 2003) (affirming dismissal of UDTPA claim where plaintiff failed

 to allege defendants acted “inconsistent with … the express terms” of the parties’ contract).

                3.      Breach of Contract Allegations Do Not State a UDTPA Claim.

        Further, Ms. Lambert cannot recover under the North Carolina UDTPA for a “mere

 breach of contract, even if intentional.” Broussard v. Meineke Disc. Muffler Shops, Inc., 155

 F.3d 331, 347 (4th Cir. 1998); see also Ellis v. Louisiana-Pac. Corp., 699 F.3d 778, 787 (4th Cir.

 2012) (“[I]t is unlikely that an independent tort could arise in the course of contractual

 performance, since those sorts of claims are most appropriately addressed by asking simply

 whether a party adequately fulfilled its contractual obligations.”); see also Mot. at 28-29

 (collecting cases). Yet her claim is just that—a mere breach of contract seeking treble damages

 and attorney fees, with no allegations of aggravating circumstances. Id. at 28-30.

        Paragraphs 27-50 of her Complaint—which she claims allege “substantially aggravating

 circumstances,” Opp. at 27—allege only a breach of contract. The heading of that section reads

 “The Imposition of Multiple NSF Fees on a Single Transaction Violates NFCU’s Express

 Promises and Representations.” Compl. ¶ 27. From paragraphs 27 through 31, Ms. Lambert

 alleges Navy Federal does not define “item or transaction,” indicates “NSF Fees will only be

 assessed once per transaction or item,” and states “it will charge $29 per item or transaction that

 is returned.” Ms. Lambert then reviews the terms of the Exhibits she believes support her

 argument, id. ¶¶ 32-35, alleges her interpretation of the Important Disclosures, id. ¶¶ 36-41, and


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 culminates with her allegation of breach: “NFCU breached the contract when it charged more

 than one NSF Fee per item.” Id. ¶ 42 (emphasis added). Ms. Lambert follows those allegations

 by asserting what she believes “[r]easonable customers understand” the contract to mean, id.

 ¶¶ 43-45, and concludes by comparing Navy Federal’s Important Disclosures to those of other

 institutions, id. ¶¶ 46-50. In short, Ms. Lambert’s UDTPA allegations simply recast her breach

 of contract ones, thereby taking her claim out of the UDTPA. As a result Broussard and Gray v.

 N.C. Ins. Underwriting Ass’n, 352 N.C. 61, 68, 529 S.E.2d 676, 681 (2000), which bar plaintiffs

 from transforming contract claims into ones for UDTPA violations, apply with full force.12

        Nor does it matter that the Important Disclosures constitute an adhesion contract. See

 Opp. at 30. “Virginia adheres to the general rule that: ‘The use of a standard form contract

 between two parties of admittedly unequal bargaining power does not invalidate an otherwise

 valid contractual provision.’” Saturn Distr. Corp. v. Williams, 905 F.2d 719, 726 (4th Cir.

 1990); see also AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 346-47 (2011) (“[T]he times

 in which consumer contracts were anything other than adhesive are long past.”). Ms. Lambert

 cannot meet her burden to plead facts plausibly establishing substantial aggravating



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   Ms. Lambert’s failure to plead facts plausibly showing substantial aggravating circumstances
 distinguishes this case from those she cites. See Opp. at 29 (citing Martin v. Bimbo Foods
 Bakeries Dist., Inc., 2014 WL 3487618, *4 (E.D.N.C. 2014) (plaintiff alleged defendant
 “pretextually terminat[ed] the agreement”); Varnell, Struck & Assocs., Inc. v. Lowe’s Cos., 2008
 WL 1745880, *9 (W.D.N.C. 2008) (same); Deerborne Cottages, LLC v. First Bank, 2012 WL
 1835240, *6 (W.D.N.C. 2012) (affirmative misrepresentations discrete from the subject matter of
 the contract); Insteel Indus. Inc. v. Costanza Contracting Co., Inc., 276 F. Supp. 2d 479, 488
 (E.D. Va. 2003) (same); New Hickory Pizza, Inc. v. TIG Ins. Co., 2017 WL 3840278, *11-*12
 (W.D.N.C. 2017) (UDTPA violations based on underlying violations of North Carolina’s Unfair
 Claim Settlement Practices Act); Biltmore Ave. Condo. Ass’n, Inc. v. Hanover Am. Ins. Co., 2016
 WL 406463, *2 (W.D.N.C. 2016) (affirmative misstatements inducing a party to enter a
 contract); Faucette v. 6303 Carmel Rd., LLC, 242 N.C. App. 267, 276, 775 S.E.2d 316, 324
 (2015) (conversion); Hanes v. Barar, 219 N.C. App. 400, 2012 WL 707110, *1, *5 (2012)
 (unpub.) (wrongful refusal to accept plaintiff’s tender of payments then declaring plaintiff in
 breach and disabling her vehicle)). None of these cases aids Ms. Lambert, who bases her
 UDTPA claim on allegations identical to her contract claim, without aggravating circumstances.
 Compare Compl. ¶ 73, with Compl. ¶ 82.

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 circumstances (including “inequitable assertion of power”) by simply concluding the Important

 Disclosures are “adhesive.” See Dillon v. Leazer Grp., Inc., -- F. Supp. 3d ---, 2019 WL

 1245784, *8 (E.D.N.C. 2019) (dismissing UDTPA claim despite allegation that defendant

 “exercised their superior bargaining power to induce [plaintiffs] to enter into a one-sided and

 unconscionable contract of adhesion”); Varnell, Struck & Assocs., Inc, 2008 WL 1745880, at *8

 (“[T]hat the Defendant may have used its unequal bargaining position to force the Plaintiff to

 accept the clauses does not constitute an unfair act or practice under the UDTPA.” (citing Sara

 Lee Corp. v. Quality Mfg., 201 F. Supp. 2d 608, 617 (M.D.N.C. 2002) (dismissing UDTPA

 claims despite allegations of “superior position”)). Sara Lee., 201 F. Supp. 2d at 616.

                4.      Factual Development Will Not Salvage Ms. Lambert’s UDTPA Claim.

        Ms. Lambert concedes that whether an action violates the UDTPA is a question of law,

 but suggests the Court should allow further factual development before deciding the issue. Opp.

 at 27. But she does not identify what factual development could somehow render Navy

 Federal’s performance of the parties’ contract unfair or deceptive—and nor could she, for the

 express terms of the Important Disclosures said Navy Federal could do what it did. Nor has Ms.

 Lambert pled facts plausibly alleging any aggravating circumstances, as is her burden in stating a

 UDTPA claim. That is fatal to her claim, and requires dismissal under Rule 12(b)(6). See Van

 Leuvan v. Cushman & Wakefield US, Inc., 2019 WL 123893, *4 (E.D.N.C. 2019) (granting

 motion to dismiss UDTPA claim where plaintiff had “not plausibly alleged any substantial

 aggravating circumstances”); Carolina Rest. Grp., Inc. v. PepsiCo Sales, Inc., 2015 WL

 4250395, *6 (W.D.N.C. 2015) (dismissing UDTPA despite “conclusory allegation that

 [defendant’s] conduct … was ‘an inequitable assertion of power’”); Sullivan v. Lab. Corp. of Am.

 Holdings, 2018 WL 1586471, *4-*5 (M.D.N.C. 2018) (dismissing where plaintiff failed to

 “plausibly state a claim under the act”).


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                                     III.     CONCLUSION

        The Court should grant Navy Federal’s Motion to Dismiss with prejudice because federal

 law preempts Ms. Lambert’s claims, because Navy Federal properly charged her two NSF fees

 for two returned debit items (as her contract with Navy Federal permits), and because the parties’

 selection of Virginia law bars her North Carolina claims (which claims fail in any event).

 Dated: April 22, 2019.               Respectfully submitted,


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                                     CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing with the Clerk of the Court using

 the CM/ECF system, which will send notification of such filing to those attorneys of record

 registered on the CM/ECF system. All other parties (if any) shall be served in accordance with

 the Federal Rules of Civil Procedure.




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